                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

NATURES WAY MARINE, LLC,                  )
                                          )
      Plaintiff,                          )
                                          )
vs.                                       )   CIVIL ACTION NO. 12-0316-CG-M
                                          )
EVERCLEAR OF OHIO, LTD, et al.,           )
                                          )
      Defendants.                         )

                                      ORDER

      This cause came on for a telephone conference this date on Defendant

Everclear of Ohio, Ltd.’s Motion to Continue Trial (Doc. 155).

      Upon due consideration of the motion and the representations of counsel

during the conference, the court finds that a continuance is necessary. The jury

trial of this action is hereby CONTINUED to the November 2014 trial term,

commencing with jury selection on November 4, 2014. Trial will begin on November

17, 2014 at 9:00 a.m., to be held in Courtroom 2B, United States Courthouse,

Mobile, Alabama.

      The parties are directed to inform the court of the new date set for the

mediation conference either by contacting chambers or the clerk.

      DONE and ORDERED this 26th day of August, 2014.

                                       /s/ Callie V. S. Granade
                                       UNITED STATES DISTRICT JUDGE
